Case 2:12-cr-00083-APG-GWF   Document 59   Filed 04/24/12   Page 1 of 11
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page2 2ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page3 3ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page4 4ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page5 5ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page6 6ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page7 7ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page8 8ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page9 9ofof1111
Case
 Case2:12-cr-00083-APG-GWF
      2:12-cr-00083-KJD -GWF Document
                             Document 59
                                      57   Filed 04/20/12
                                           Filed 04/24/12 Page
                                                           Page1010ofof1111
Case 2:12-cr-00083-APG-GWF   Document 59   Filed 04/24/12   Page 11 of 11




                    24


                         ________________________________
                         GEORGE FOLEY, JR.
                         United States Magistrate Judge
